                Case: 2:21-cr-00177-ALM Doc #: 1 Filed: 08/31/21 Page: 1 of 6 PAGEID #: 1
AO 91 (Rev. 08/09) Criminal Complaint                                                                                    (&
                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     SouthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                         Ohio

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 2:21-mj-569
                 Timothy W. WRIGHT
                                                                    )
              4329 Wyandotte Woods Blvd.
                   Dublin, OH 43016                                 )
                                                                    )
                           Defendant(s)


                                                       CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      June 2021                  in the county of               Franklin            in the
     Southern          District of              Ohio            , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. 2251(a)                                Production of child pornography: use of a minor engaged in sexually explicit
                                                 conduct for the purpose of producing a visual depiction of such conduct

18 U.S.C. 2252(a)(4)(B)                          Possession of visual depictions of minors engaged in sexually explicit activity


18 U.S.C. 2422(b)                                Persuasion, inducement, enticement, or coercion of a minor to engage in
                                                 prostitution or any other illegal sexual activity


         This criminal complaint is based on these facts:
See attached affidavit incorporated herein by reference




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                              SA Bianca Ragone, HSI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:         August 31, 2021
                                                                                                  Judge’s signature

City and state:                           Columbus, Ohio                          Kimberly A. Jolson, U.S. Magistrate Judge
                                                                                                Printed name and title
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


In the Matter of:                            )
                                             )               Case No.: 2:21-mj-569
United States of America                     )
          v.                                 )
Timothy WRIGHT                               )              Magistrate Judge
4329 Wyandotte Woods Blvd.                   )
Dublin, OH 43016                             )


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
        I, Bianca Ragone, a Special Agent with Homeland Security Investigations, being duly
sworn, hereby depose and state:


    1.      I, Special Agent Bianca Ragone (your affiant), make this affidavit in support of a
criminal complaint to arrest for violations of Title 18 United States §§ 2251 and 2422(b) – the
production of child pornography and the coercion or enticement of a minor. Since this affidavit is
being submitted for the limited purpose of securing a criminal complaint and arrest warrant, your
affiant did not include each and every fact known concerning this investigation. Your affiant did
not withhold any information or evidence that would negate probable cause. The statements
contained in this affidavit are based in part on information and analysis provided by law
enforcement agents; written reports about this and other investigations that I have received,
directly or indirectly, from other law enforcement agents, information gathered from the service
of subpoenas and execution of search warrants; interview(s); and my experience, training and
background as a Special Agent. Your affiant set forth only the facts that are believed to be
necessary to establish probable cause that Timothy WRIGHT committed the violations listed
above.

    2.     I am a Special Agent (SA) of Homeland Security Investigations (HSI), assigned to
the Office of the Assistant Special Agent in Charge, Columbus, Ohio since September 2019.
During my tenure as a Special Agent, I have completed the Criminal Investigator Training
Program (CITP) and the Homeland Security Investigations Special Agent Training Program
(HSISAT) at the Federal Law Enforcement Training Center (FLETC) in Glynco, Georgia.
During CITP and HSISAT I have received training on cybercrimes, child exploitation, child
pornography, and the dark web. I have been assigned to the Franklin County Internet Crimes
Against Children (ICAC) Task Force investigating child exploitation offenses since November
2019. Prior to that, I worked for the Federal Bureau of Investigation for three years as a Student
Work Force Trainee on a Violent Crimes Task Force working child exploitation cases.
Moreover, I am a federal law enforcement officer who is engaged in enforcing federal criminal
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laws, including 18 U.S.C. §§ 2251, 2252, 2252A, 2422, 1591, and 1594 and I am authorized by
law to request a criminal complaint.

    3.     In late July of 2021, Special Agents (SAs) from Homeland Security Investigations
(HSI) received information from the Delaware County Juvenile Court and Columbus Division of
Police Missing Persons Unit (CPD) regarding three minor females. More specifically, SAs
learned that in early to mid-July, a 16-year-old female (herein referred to as MV1), and a 15-
year-old female (herein referred to as MV2), and a 17-year-old female (herein referred to as
MV3), had all been reported missing.

    4.     In order to ascertain the whereabouts of the MVs, law enforcement spoke with family
members of the missing juveniles. The investigation revealed that MV2 had been in recent
communication with telephone number (352) 302-2819. An open-source search for that phone
number revealed that it belonged to a company listed as L&T Trucking and more specifically, an
individual by the name Timothy WRIGHT. Further investigation also revealed on May 30,
2021, a family member of MV3 had received a payment from the Cash App account
$Lttrucking28 for the sole purpose of turning MV3’s phone back on.

   5.       Investigators conducted an on open-source search in the Cash App application for the
profile of $Lttrucking28 which revealed a vanity name listed as Tim Wright (WRIGHT). Law
enforcement then conducted records checks with the Ohio Bureau of Motor Vehicles which
revealed WRIGHT had a current listed address in Dublin, Ohio.

    6.       On July 29, 2021, SAs served a subpoena to Square, Inc. for subscriber information
relating to the Cash App account, $Lttrucking28. That same day SAs received the following
identifying subscriber information for the $Lttrucking28 Cash App account:
                Full name: Timothy WRIGHT
                Phone Number: (352) 302-2819
WRIGHT’s date of birth and the last four digits of WRIGHT’s social security number were also
included in the subpoena return for subscriber information.
   7.      Because the phone number (352) 302-2819 resolved to AT&T, SAs served a
subpoena to AT&T for subscriber information on July 29, 2021. That same day SAs received
the following identifying information:
               Financial Liable Party: L&T Trucking Inc.
               Contact Name: Timothy WRIGHT
               Contact Home Email: Lttrucking28@gmail.com

      8.    In addition to the subscriber information received from AT&T, call records
were received which indicated the cell phone associated with WRIGHT’s (352) 302-2819 phone
number was an iPhone X bearing IMSI number 310410066384069. In review of those call
records, SAs noted between May 2021 and July 2021, a portion of which times the MVS were
reported missing, phone calls and text messages were made between WRIGHT and MV2 as well
as WRIGHT and MV3.
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      9.     On July 31, 2021, the Franklin County Sheriff’s Office (FCSO) obtained a search
warrant for the WRIGHT’s iPhone X. On August 2, 2021, FCSO located WRIGHT at his
Dublin, Ohio residence and the iPhone X was given to officers by WRIGHT upon arrival at the
residence pursuant to the search warrant.

    10.     That same day, law enforcement spoke with WRIGHT and during that conversation,
WRIGHT was shown a photograph of all three MVs. WRIGHT indicated he recognized the face
of MV1 but did not know her true name. WRIGHT stated he also recognized MV2 and knew
her by a nickname and recognized MV3 whom he knew by true first name. WRIGHT stated that
he thought all three MVs were 18 years old and that he had previously tried to “help them out.”
WRIGHT also admitted that he had all three MVs to his house before and that the last time he
had seen them, WRIGHT had picked up MV1 from MV1’s house and had dropped all MVs off
at an unknown location. WRIGHT further indicated that he did not know the current
whereabouts of any of the MVs.

   11.     A cursory review of WRIGHT’s iPhone X by law enforcement revealed numerous
images depicting what appeared to be nude female minors. Based upon that cursory review, law
enforcement obtained a second search warrant for the WRIGHT’s iPhone X on August 9, 2021.

   12.     On August 10, 2021, a forensic extraction of the WRIGHT’s iPhone X was
completed. In the initial review of that extraction, law enforcement recovered text messages via
iPhone messenger which indicated that WRIGHT coordinated dates and times to meet with the
MVs, negotiated prices for nude or explicit photographs of all three MVs, and paid MV2 and
MV3 via the Cash App application for nude photographs and videos.

   13.     More specifically, a review of text messages from that extraction revealed that
WRIGHT and MV3 had been in contact between the dates of June 9, 2021 and July 15, 2021.
Law enforcement specifically noted two conversations between MV3 and WRIGHT. The first
conversation occurred on June 9, 2021, at approximately 5:15pm. In that exchange, MV3 sent a
text message to WRIGHT containing videos which depicted MV3 wearing a tank top and
underwear. In response, WRIGHT sent a text message to MV3 stating “those are nice, but not
nude lol… Send some of your front :)” MV3 then sent WRIGHT a five second video depicting
her nude genitalia. Text messages further indicate that, at the request of MV3, WRIGHT sent
the money owed to MV3 for the nude videos to MV2 via Cash App.

   14.       In a second conversation occurring on June 14, 2021, at approximately 4:35pm, text
messages reveal that MV3 and WRIGHT were negotiating a price they both could agree on in
exchange for MV3 sending WRIGHT nude images of herself. Specifically, MV3 sent WRIGHT
a text stating “100 or less?” WRIGHT then responded with “yeah a lot less lol….I’m more into
the meetings instead of pics.” MV3 then followed up with WRIGHT and sent a text message
stating “50?...75?” In response, WRIGHT wrote “how about 40 lol….I only need a few
pics/videos”. MV3 then agreed with WRIGHT on that price and indicated to WRIGHT that she
will send the images. At approximately 5:14pm. MV3 then sent a text message to WRIGHT
which contained a six second video depicting MV3 displaying a close up of her nude genitalia.
MV3’s face is depicted in the video as well. MV3 then sent WRIGHT a second text message
containing another six second video which depicted MV3 using her hand to spread apart her
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    nude genitalia. WRIGHT then responded to both videos with the following text “wow!nice
    (heart eyes emoji)….def can’t wait to see it in person স
                                                           ঻”.
                                                           ঺
                                                           হ

       15.     Further review of text messages revealed that on June 9, 2021, WRIGHT engaged in
    a text conversation in which he indicated he would pay MV2 $60 but, in exchange for that
    money, MV3 was to send three nude photos to WRIGHT that also depicted MV3’s face.
    WRIGHT then told MV3 via text message that a portion of the $60 sent to MV2 belonged to
    MV3 and that he was sending MV3 that money in exchange for the video that MV3 had sent
    WRIGHT on June 9, 2021. SAs knew that video to be the five second video of MV3 which
    depicted MV3’s nude genitalia.

       16.    Law enforcement also recovered a text message exchange occurring on June 9, 2021
    in which WRIGHT asked MV3 her age. In response, MV3 stated “17 years old.”

     17.    In continuing the investigation into WRIGHT, SAs then compared the above text
messages from WRIGHT’s iPhone X with the results from the Cash App subpoena. In that
comparison, SAs documented two payments labeled “personal” to MV2 on June 9, 2021. The
first payment was in the amount of $60 and the second was in the amount of $30. Both
payments were sent to MV2 from the $Lttrucking28 Cash App account.

    18.     In addition, SA’s documented one payment labeled “personal” to MV3 for $40 on
June 14, 2021. This was the same date MV3 had sent WRIGHT a video depicting MV3 using
her hand to spread apart her nude genitalia. The payment to MV3 was sent from WRIGHT again
using the $Lttrucking28 Cash App account.

    19.     On August 12, 2021, all three MVs were recovered together in the Columbus,
Ohio area. Less than one week later, an interview of MV3 was conducted. On August 18, 2021,
law enforcement learned through MV3 that she went to WRIGHT’s house located in Dublin,
Ohio at least five times in a five-week period beginning in June or July of 2021. MV3 stated that
when she was at his house, she would lay naked on WRIGHT’s bed with her legs spread apart.
WRIGHT would then masturbate and ejaculate on to her stomach area. In exchange for that sex
act, WRIGHT would pay MV3 $300 and MV3 stated she received that money via Cash App or
in cash. MV3 also stated she sent WRIGHT nude videos via text message in exchange for
money. Finally, MV3 identified herself in a still image that was recovered off WRIGHT’s
iPhone X which depicted MV3 and her nude genitalia.

   20.       On September 1, 2021, a federal search warrant was issued out of the Southern
District of Ohio for WRIGHT’s iPhone X. Review of the forensic extraction from WRIGHT’s
iPhone X, as well as other investigation into WRIGHT’s child exploitation activities, remains
ongoing.


    21.      Based upon the above information, your affiant submits that there is probable cause
to believe that Timothy W. WRIGHT has committed offenses in violation of Title 18 United
States §§ 2251 and 2422(b) – the production of child pornography and the coercion/enticement
of a minor. Therefore, your affiant respectfully requests this court issue a criminal complaint and
arrest warrant.
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                                                                   Bianca Ragone
                                                              _________________________
                                                                             Bianca Ragone
                                                                              Special Agent
                                                            Homeland Security Investigations


                                         31st
Sworn and subscribed to before me this _____ day of August 2020.



________________________________
Kimberly A. Jolson
Magistrate Judge
U.S. District Court for the Southern District of Ohio
